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UNITED STATES DISTRICT COURT
sOUTHERN DISTRICT 0F GEoRGIA
AUGUSTA DIVISION

CLERK’S M]NUTES - GENERAL

 

 

 

 

 

CASE NO, CR117-034 DATE February 27, 2018
USA V. REALITY LEIGH WlNNER
TITLE
TIMES 10:06 am - 3:57 pm TOTAL 5 hrs. 49 min.
M
Honorable : Brian K. Epps, United States Magistrate Judge Courtroom Deputy : Lisa Widener
Court Reporter : LiSa Davenport Interpreter :
_______________________-
Attomey for Government Attorney for Defendant(s) Attomey for
Jennifer Solari Matthew Scott Chester
David Aaron Thomas H. Bernard
Titus Thomas Nichols
.lohn C. Bell, .Ir.
PROCEEDIN GS : SUPPRESSION HEAR[NG In Court

E In Chambers

All parties present and ready to proceed

 

Government Exhibits 1-5. 5.1. 5.2. 5.3. 6. 6.1. 6.1.1. 6.2. 6.2.1. 6.3. 6.3.1 are
admitted Without objection

 

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to respond.

 

 

 

 

 

 

(Rcv 7/2003) GENERAL CI£RK’S MNUTES

